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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------X                                 ANSWER
 VERNITA WORRELL,
                                                                    Civil Action No.
                                           Plaintiff,                1:22-cv-6256
        -against

 HAWA UPPER WEST INC AND
 495 AMSTERDAM AVENUE LLC,

                                           Defendants.
 --------------------------------------X

        Defendant HAWA UPPER WEST INC (“HAWA UPPER WEST” or “Defendant”), by

and through its attorneys Geng & Associates, P.C., hereby submits this Answer to the Complaint

submitted by Plaintiff VERNITA WORRELL (“Plaintiff”). Unless otherwise set forth, the

numbered paragraphs in this Answer are intended to correspond to the same numbered

paragraphs of the Complaint.

        1. Defendant neither admits nor demines the allegations in paragraph 1 of Plaintiff’s

            Complaint, except refers to the statutes referenced therein for the content thereof.

        2. Defendant neither admits nor denies the allegations in paragraph 2 of the Plaintiff’s

            Complaint, except refers to the statutes referenced therein for the content thereof.

        3. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

            the allegations set forth in the paragraph 3 of the Complaint.

        4. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

            the allegations set forth in paragraph 4 of the Complaint.

        5. Defendant admits the truth of the allegations set forth in paragraph 5 of the Complaint

            as against Defendant and lacks knowledge or information sufficient to form a belief




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   as to the truth of the allegations set forth in paragraph 5 of the Complaint concerning

   495 AMSTERDAM AVENUE LLC.

6. Defendant admits that HAWA UPPER WEST was a lessee of the Premises and lacks

   knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations set forth in paragraph 6 of the Complaint.

7. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 7 of the Complaint, except refers to the statutes

   referenced therein for the contents thereof.

8. Defendant denies the allegations in paragraph 8 of the Complaint.

9. Paragraph 9 of the Complaint purports to state a legal conclusion to which no

   response is required, to the extent a response is required, Defendant lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations contained

   therein, except refers to the statutes referenced therein for the contents thereof.

10. Paragraph 10 of the Complaint purports to state a legal conclusion to which no

   response is required, to the extent a response is required, Defendant lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations contained

   therein, except refers to the statutes referenced therein for the contents thereof.

11. Paragraph 11 of the Complaint purports to state a legal conclusion to which no

   response is required, to the extent a response is required, Defendant lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations contained

   therein, except refers to the statutes referenced therein for the contents thereof.

12. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations contained in paragraph 12 of the Complaint and avers that Defendant



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   does not operate. Own, or lease the 33rd St location as it is a franchise brand where

   Defendant exerts no control.

13. Paragraph 13 of the Complaint purports to state a legal conclusion to which no

   response is required, to the extent a response is required, Defendant denies the truth

   of the allegations contained therein.

14. Defendant neither admits nor denies the truth of the allegations set forth in paragraph

   14 of the Complaint, except refers to the statute referenced therein for the contents

   thereof.

15. Defendant neither admits nor denies the truth of the allegations set forth in paragraph

   15 of the Complaint, except refers to the statute referenced therein for the contents

   thereof.

16. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 16 of the Complaint.

17. Defendant denies the allegations in paragraph 17 of the Complaint concerning

   HAWA UPPER WEST and lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations concerning 495 AMSTERDAM AVENUE

   LLC.

18. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 18 of the Complaint.

19. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 19 of the Complaint.




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20. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 20 of the Complaint, except refers to the statutes

   and regulations contained therein for the contents thereof.

21. Defendant denies the allegations in paragraph 21 of the Complaint.

22. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations in paragraph 22 of the Complaint.

23. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations in paragraph 23 of the Complaint.

24. Paragraph 24 of the Complaint purports to state a legal conclusion to which no

   response is required, to the extent a response is required, Defendant lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations contained

   therein.

25. Paragraph 25 of the Complaint purports to state a legal conclusion to which no

   response is required. To the extent a response is required, Defendant denies the truth

   of the allegations contained therein, except refers to the statutes referenced therein for

   the contents thereof.

26. Defendant repeats and realleges each and every prior paragraph stated above as if

   fully set forth herein.

27. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 27 of the Complaint, except refers to the statutes

   referenced therein for the contents thereof.

28. Defendant denies the truth of the allegations set forth in paragraph 28 of the

   Complaint.



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29. Defendant denies the truth of the allegations set forth in paragraph 29 of the

   Complaint.

30. Defendant repeats and realleges each and every prior paragraph stated above as if

   fully set forth herein.

31. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegations set forth in paragraph 31 of the Complaint, except refers to the statutes

   referenced therein for the contents thereof.

32. Paragraph 32 of the Complaint purports to state a legal conclusion to which no

   response is required. To the extent a response is required, Defendant denies the truth

   of the allegations contained therein, except refers to the statutes referenced therein for

   the contents thereof.

33. Defendant denies the truth of the allegation set forth in paragraph 33 of the

   Complaint, except refers to the statutes referenced therein for the contents thereof.

34. Defendant denies the truth of the allegation set forth in paragraph 34 of the

   Complaint, except refers to the statutes referenced therein for the contents thereof.

35. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegation set forth in paragraph 35 of the Complaint.

36. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegation set forth in paragraph 36 of the Complaint, except refers to the statutes

   referenced therein for the contents thereof.

37. Defendant lacks knowledge or information sufficient to form a belief as to the truth of

   the allegation set forth in paragraph 37 of the Complaint, except refers to the statutes

   referenced therein for the contents thereof.



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                                   AFFIRMATIVE DEFENSES

                      AS AND FOR A FIRST AFFIRMATIVE DEFENSE

   38. The Complaint, in whole or in part, fails to state a claim upon which relief may be

       granted.

                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE

   39. Defendant is not a proper party to this action.

                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

   40. Plaintiff failed to join a necessary party to the action.

                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

41. Defendant does not own the Premises during any relevant time.

                  AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

   42. Plaintiff’s claims are barred by virtue of his failure to fulfill any conditions precedent

       to bringing this lawsuit.

                      AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

   43. The removal of any barriers that exist are not readily achievable.

                   AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

   44. The equitable relief sought is improper, inequitable, and unwarranted.

                   AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

   45. Defendant has not performed any major construction or renovations to the subject

       premises and the condition alleged, if any, is grandfathered in.

   46. Specifically, the building is a landmark building, and thus subject to different

       regulations.

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47. Defendant has obtained permit from the Department of Building and has in good faith

   comply with relevant rules and regulations pertaining to the renovation.

                 AS AND FOR A NINTH AFFIRMATIVE DEFENSE

48. Any alleged alterations to the Premises described by Plaintiff in the Complaint as

   mandated by the Americans with Disabilities Act (ADA) and New York State and

   New York City statutes and regulations were not readily achievable by Defendant.

                AS AND FOR A TENTH AFFIRMATIVE DEFENSE

49. Implementing any of the alterations to the Premises alleged by Plaintiff in the

   Complaint as mandated by the Americans with Disabilities Act (ADA) and New York

   State and New York City statutes and regulations would have caused an undue

   financial burden on Defendant.

             AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

50. The alterations to the Premises alleged by Plaintiff in the Complaint as mandated by

   the Americans with Disabilities Act (ADA) and New York State and New York City

   statutes and regulations were fundamental alterations.

              AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

51. Plaintiff is barred from recovery insomuch as any loss or damage allegedly sustained

   by Plaintiff was caused by the actions and/or omissions of the Plaintiff.

            AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

52. Plaintiff lacks standing to assert some or all of the claims asserted herein.

            AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

53. Plaintiff’s claims are barred by Plaintiff’s own conduct.

             AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE


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54. Plaintiff’s claims are barred against the Defendant by the doctrine of unclean hands.

              AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

55. Plaintiff failed to mitigate its damages, if any.

            AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

56. There was no legal duty owed to Plaintiff by the Defendant. In the alternative, if such

    a duty is found to exist, there was no breach thereof by Defendant.

            AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

53. Plaintiff’s claims are barred due to no wrongdoing on the Defendant’s part.

             AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

57. All of Plaintiff’s causes of action are barred for and on account of its failure to set

    forth more than conclusory allegations.

              AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

58. Plaintiff’s claims are barred because Plaintiff has not suffered any damages as a result

    of any acts or omissions by the Defendant.

            AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE

59. The Plaintiff’s claims are barred by reason of the good faith conduct of the

    Defendant.

          AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE

60. Damages, if any alleged to have been suffered by Plaintiff were caused, in whole or

    in part, by the intentional conduct, negligent conduct, fault or other culpable conduct

    of Plaintiff.

           AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE




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61. The Plaintiff’s claims are barred for and on account of the Plaintiff’s failure to

   comply with the pleading requirements.

         AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE

62. The Defendant hereby places the Plaintiff on notice that the Defendant intends to rely

   on such further defenses as may be revealed or developed during the course of

   discovery in this matter, and reserves the right to amend this answer to include such

   defenses, including counterclaims, to the extent required and/or permitted by law.

WHEREFORE, Defendant HAWA UPPER WEST, respectfully requests that:

   a) This Court dismiss the Complaint in its entirety with prejudice;

   b) The Court awards HAWA UPPER WEST the costs and expenses incurred in

       connection with this action, including reasonable attorneys’ fees; and

   c) The Court grants HAWA UPPER WEST such other and further relief as is just

       and proper.

Dated: New York, New York
       September 13, 2022

                                                      Geng & Associates, P.C.
                                                      Attorneys for Defendant
                                                      HAWA UPPER WEST INC


                                                      By: ____/s/Sylvia Tsai
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